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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ,
    MARCUS MARTIN, NATALIE ROMERO,
    CHELSEA ALVARADO, JOHN DOE, and
    THOMAS BAKER,


                           Plaintiffs,
    v.


    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
    ALEX FIELDS, JR., VANGUARD               Civil Action No. 3:17-cv-00072-NKM
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSLEY,          JURY TRIAL DEMANDED
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, MICHAEL “ENOCH”
    PEINOVICH, LOYAL WHITE KNIGHTS OF
    THE KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,




                           Defendants.

         PLAINTIFFS’ MOTION FOR ADDITIONAL PAGES TO RESPOND TO THE
                          COURT’S BRIEFING ORDER
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         On June 4, 2021, the Court invited the parties to file briefs by June 11, 2021 on several

  issues, including those pertaining to the feasibility of holding a trial at the Charlottesville

  courthouse and the propriety of changing venues to another courthouse. (Dkt. 966 (“Briefing

  Order”)) On June 7, 2021, the Court limited the briefs to ten pages. (Id. at 2)

         Plaintiffs respectfully seek leave to file a single brief of up to twenty-five pages. The

  additional page space is necessary to afford Plaintiffs a full and fair opportunity to address the

  important and complex issues raised by the Court in its Briefing Order. In particular, the Court has

  sought input regarding the issue of venue—a critical legal question that would benefit from more

  fulsome briefing. See Feller v. Brock, 802 F.2d 722, 729 n.7 (4th Cir. 1986) (“[T]he parties deserve

  an opportunity to be heard before a decision [on transfer] is rendered.’” (citing 15 C. Wright, A.

  Miller, E. Cooper, Federal Practice and Procedure § 3844 at 329-30 (1986))). Moreover,

  Plaintiffs expect that the Court may receive separate submissions from each Defendant, which

  would far exceed the ten-page limit currently imposed on Plaintiffs’ single brief.

         For these reasons, and in the interests of fairness to all parties, this Court should grant

  Plaintiffs’ request to file a single brief of up to twenty-five pages in response to the Court’s

  Briefing Order, consistent with the Pretrial Order in this case. (Dkt. 101 ¶ 8) James Kolenich,

  counsel for Defendants Jason Kessler, Nathan Damigo, Identity Europa, Inc. (Identity Evropa),

  Matthew Parrott, and Traditionalist Worker Party, consents to Plaintiffs’ Motion. Given the




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  obvious need to submit this request as soon as possible, counsel for Plaintiffs did not have

  sufficient time to meet and confer on the page limitation issue with the other Defendants.



     Dated: June 7, 2021                              Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 7, 2021, I filed the foregoing with the Clerk of Court through
  the CM/ECF system, which will send a notice of electronic filing to:

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                                    CERTIFICATE OF SERVICE

          I further hereby certify that on June 7, 2021, I also served the following non-ECF
  participants, via mail and electronic mail, as follows:

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